        Case 1:21-cr-00225-DLF Document 45 Filed 06/07/22 Page 1 of 3



                        UNITED STATES DISTRICT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               )
                                       )
v.                                     )      Case No. 21-cr-225 (DLF)
                                       )
TRENISS JEWELL EVANS III,              )
                                       )
      Defendant.                       )



           DEFENDANT’S MOTION TO SEAL CERTAIN FILINGS

 (NOTE: THE GOVERNMENT DOES NOT OBJECT TO THIS MOTION)


 TO THE HONORABLE DABNEY L. FRIEDRICH, UNITED STATES
 DISTRICT JUDGE FOR THE DISTRICT OF COLUMBIA:

       Now comes Defendant, TRENISS JEWELL EVANS III, by and through his

 undersigned counsel, and respectfully moves this Honorable Court for an order

 sealing Docket No. 44, filed May 20, 2022 (“Government’s Supplemental

 Sentencing Memorandum”) as well as this motion and supporting brief. Docket No.

 44 references confidential, previously sealed material.




       An accompanying Memorandum of Law and Facts support this Motion.
        Case 1:21-cr-00225-DLF Document 45 Filed 06/07/22 Page 2 of 3



Dated: June 7, 2022                /s/ John M. Pierce
                                   John M. Pierce
                                   21550 Oxnard Street
                                   3d Floor, PMB#172
                                   Woodland Hills, CA 91367
                                   Tel: (213) 279-7846
                                   Email: jpierce@johnpiercelaw.com

                                   Attorneys for Defendant Treniss Jewells
                                   Evans III
         Case 1:21-cr-00225-DLF Document 45 Filed 06/07/22 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I hereby certify that, on June 7, 2022, this motion and the accompany

declaration was filed via the Court’s electronic filing system, which constitutes

service upon all counsel of record.

                                        /s/ John M. Pierce
                                        John M. Pierce
